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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LEIGH J. BECHTLE                                    :    CIVIL ACTION
           Plaintiff,                               :
                                                    :    NO. 20-5803
          v.                                        :
                                                    :    Before the Hon. Michael M. Baylson
COUNTY OF DELAWARE                                  :    United States District Judge
         Defendant                                  :

                  COUNT FOUR TO PLAINTIFF’S COMPLAINT
      VIOLATIONS OF THE PENNSYLVANIA HUMAN RELATIONS ACT (“PHRA”)
                     UNLAWFUL AGE DISCRIMINATION1

44.       The foregoing paragraphs, the ad damnum clause and jury trial demand are incorporated

herein in their entirety as if set forth in full.

45.       In the manner set forth above and in violation of the PHRA, the County has engaged in

knowing, willful, purposeful and unlawful discrimination by terminating Plaintiff’s employment on

account of his age.

46.       As a result of the age discrimination inflicted by Defendant, Plaintiff has suffered damages

including but not limited to denial of employment, lost wages, lost benefits, lost promotions, lost

training, and lost experience.

47.       As a result of age discrimination inflicted by Defendant, Plaintiff has also suffered emotional

pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary

losses.

                                          WEINSTEIN LAW FIRM, LLC
                                  By:     /s/ Marc E. Weinstein
                                          Marc E. Weinstein, Esquire
                                          Counsel to Plaintiff

          1
         Plaintiff’s complaint filed on November 19, 2020 contained three causes of action, and
included 43 numbered paragraphs plus an ad damnum clause. Pursuant to Fed. R. Civ. P. 15(a)(2),
Defendant has provided written consent to adding this PHRA count.
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                                  CERTIFICATE OF SERVICE


        I, Marc E. Weinstein, Esquire, hereby certify that on this day I caused the foregoing

document to be filed on the ECF system. Defendant’s counsel is a filing users under the ECF

system. Upon the electronic filing of a pleading or other document, the ECF system will

automatically generate and send a Notice of Electronic Filing to all filing users associated with this

case. Electronic service by the Court of the Notice of Electronic filing constitutes service of the filed

document and no additional service upon the filing user is required.




                                        By:     /s/ Marc E. Weinstein
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